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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

  STACEY LYNN REICHER,                            )
                                                  )
                    Plaintiff,                    )      Case No. 1:21CV70637
                                                  )
  v.                                              )    SCHEDULING ORDER
                                                  )
  THE TOWN OF ABINGDON,                           )     JUDGE JAMES P. JONES
                                                  )
                    Defendant.                    )



       Pursuant to Rule 16(b)(1), it is ORDERED as follows:

       1.     The Joint Rule 26(f) Plan, ECF No. 25, is ADOPTED, except that its

 provision as to Rule 26(a)(2) disclosures is NOT adopted and such disclosures are

 as determined by this Scheduling Order. No trial date is scheduled at this time.

       2.     If the case is settled, the court will dismiss the case from the docket and

 if no agreed final order or judgment is thereafter submitted within 60 days, or if no

 party files a motion to reopen within such time, the case shall, without further order,

 stand dismissed with prejudice.

                                        Motions

       3.     A supporting brief must accompany all motions unless the motion itself

 contains the legal argument necessary to support it. If the motion is opposed, a brief

 in opposition must be filed within 14 days of the service of the movant’s brief. If
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 the moving party desires to submit a reply brief, it must be filed within 7 days of the

 date of service of the brief opposing the motion.

          4.    Dispositive motions, including motions for summary judgment, must

 be filed no later than May 3, 2023. Briefs in opposition to such motions must be

 filed within 14 days of any such motion. If the moving party desires to submit a

 reply brief it must be filed within 7 days of the filing of the brief opposing the

 motion, and in no event later than prior to the day before the hearing.

          5.    If a motion is unopposed and the moving party certifies such fact in the

 motion, no brief need be filed, nor response made to the motion. Procedural motions,

 including motions for enlargement of time, whether or not opposed, may be acted

 upon at any time by the court, without awaiting a response, and any party adversely

 affected by such action may request reconsideration, vacation, or modification of

 such action.

          6.    With any motion or brief that exceeds 50 pages, including attachments

 and exhibits, counsel must provide a paper courtesy copy to the chambers of the

 judge.

                                        Discovery

          7.    The parties must forthwith make initial disclosures as required by Rule

 26(a)(1) unless the parties stipulate otherwise.
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       8.       All discovery must be completed by April 3, 2023. This schedule

 requires that written discovery be served in sufficient time to allow the responding

 party time to respond before the cutoff date for discovery.

       9.       Discovery and disclosure material is not to be filed unless and until

 actually used in a proceeding, except as to the disclosures and objections thereto

 under Rule 26(a)(3) of trial witnesses and exhibits, which must be filed.

       10.      All discovery disputes are hereby referred to the Honorable Pamela

 Meade Sargent, United States Magistrate Judge, for hearing and determination,

 pursuant to 28 U.S.C. § 636(b)(1)(A) and Rule 72(a). The briefing requirements set

 forth in this order do not apply to motions before the magistrate judge, who shall

 determine any briefing requirements with respect to such motions.

                                       Witnesses

       11.      The plaintiff must disclose expert testimony as required by Rule

 26(a)(2) no later than 120 days prior to the discovery deadline. Rebuttal expert

 disclosures by the defendant must be made within 14 days after any initial expert

 disclosures.

       12.      Any motion to exclude the testimony of an expert based on the

 sufficiency or reliability of the expert’s testimony must be filed no later than the date

 for dispositive motions.
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       13.    At least 14 days prior to trial, the parties must make the pretrial

 disclosures of witnesses and exhibits required by Rule 26(a)(3). The parties must

 make objections to deposition testimony and exhibits at least 7 days prior to trial.

 The listing of a potential objection does not constitute the making of that objection

 or require the court to rule on the objection; rather it preserves the right of the party

 to make the objection when and as appropriate during trial. No objection is needed

 and should not be listed based upon Rule 402 (relevancy) or Rule 403 (prejudice,

 confusion, etc.).

                                       Mediation

       14.    At any time, the court may refer the case to the magistrate judge to

 conduct nonbinding mediation. Any party may make a confidential and ex parte

 request for such mediation.


                                                  ENTER: July 15, 2022

                                                  /s/ JAMES P. JONES
                                                  Senior United States District Judge




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